                                          Case 5:21-cv-07385-VKD Document 29 Filed 11/30/21 Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8     JOHN STOSSEL,                                       Case No. 21-cv-07385-VKD
                                                         Plaintiff,
                                   9
                                                                                             ORDER REQUESTING STATUS
                                                   v.                                        REPORT RE SERVICE
                                  10

                                  11     FACEBOOK INC., et al.,
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14            Before the Court is plaintiff John Stossel’s action for defamation against defendants

                                  15   Facebook, Inc. (“Facebook”), Science Feedback, and Climate Feedback. See Dkt. No. 1.

                                  16   Although Mr. Stossel and Facebook have consented to proceed before a magistrate judge (Dkt.

                                  17   Nos. 10, 24), defendants Science Feedback and Climate Feedback have not appeared and it is not

                                  18   clear whether these defendants have been served. All named parties, included unserved

                                  19   defendants, must consent to magistrate judge jurisdiction before a magistrate judge may hear and

                                  20   decide a dispositive motion. 28 U.S.C. § 636(c)(1); Williams v. King, 876 F.3d 500 (9th Cir.

                                  21   2017).

                                  22            Accordingly, the Court directs plaintiff to file a report by December 7, 2021 regarding the

                                  23   status of service upon defendants Science Feedback and Climate Feedback.

                                  24            IT IS SO ORDERED.

                                  25   Dated: November 30, 2021

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                                                                                                     VIRGINIA K. DEMARCHI
                                  28                                                                 United States Magistrate Judge
